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                                                     February 10, 2023

                                            The application for modification for bail is granted.
VIA EMAIL & ECF                             SO ORDERED.

Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square                                     2/13/2023
New York, New York 10007

              Re:    United States v. Gilbert Armenta, 17 Cr. 556 (ER)

Dear Judge Ramos:

       On behalf of Gilbert Armenta, we respectfully submit this request seeking a modification
of Mr. Armenta’s bail conditions to permit Mr. Armenta to travel to New York to prepare with
counsel for and attend his sentencing in this action on February 16.

       On July 19, 2019, Mr. Armenta was remanded to the Metropolitan Correctional Center.
On March 25, 2020, the Court released Mr. Armenta, and imposed a condition of home
confinement as part of his bail conditions. On July 14, 2022, the Court further modified Mr.
Armenta’s bail conditions to permit Mr. Armenta certain hours per day outside of his residence.

        Mr. Armenta’s release has been supervised by Senior United States Probation Officer
Garry Hackett. Specifically, Mr. Armenta seeks to travel from Miami to New York on February
14, 2023, and to return on February 17, 2023. We will provide Officer Hackett with the specific
details of Mr. Armenta’s travel arrangements.

                                                 Respectfully submitted,


                                                 /s/ Marc A. Weinstein.
                                                 Marc A. Weinstein


cc:   AUSA Christopher DiMase
      AUSA Nicholas Folly


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                                                                             2


      AUSA Juliana Murray
      AUSA Kevin Mead
      Senior Probation Officer Garry Hackett




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